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1
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2    Andrew M. Wagley, WSBA #50007
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10   Attorneys for Defendant Ronald C. Ilg, MD
11
12
                            UNITED STATES DISTRICT COURT
13                         EASTERN DISTRICT OF WASHINGTON
14
15   UNITED STATES OF AMERICA,
16                                                Case No. 2:21-cr-00049-WFN
                                 Plaintiff,
17
                                                  DECLARATION OF ANDREW M.
18        v.                                      WAGLEY RE: SENTENCING
19                                                LETTERS
20   RONALD CRAIG ILG,
21
22
                                 Defendant.
23
24        I, Andrew M. Wagley, do hereby declare the foregoing:
25
26
          1. I am over the age of 18 and competent to testify regarding the matters
27
               stated herein.
28
29        2. I am one of the attorneys of record for the Defendant, Ronald C. Ilg,
30
31             MD. I make this Declaration in support of Defendant’s Sentencing
32


        Declaration of Andrew M. Wagley—Page 1        ETTER, MCMAHON, LAMBERSON,
                                                      VAN WERT & ORESKOVICH, P.C.
                                                           618 WEST RIVERSIDE AVENUE, SUITE 210
                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:21-cr-00049-WFN         ECF No. 179   filed 01/23/23      PageID.1970 Page 2 of 3




1
              Memorandum and his response to the United States’ Sentencing
2
3             Memorandum and Motion for Upward Variance/Departure.
4
5
          3. Attached hereto as “Exhibit A” are true and correct copies of character
6
              letters written on behalf of Defendant Ronald Ilg.
7
8         I hereby declare under penalty of perjury of the laws of the State of
9
10   Washington and the United States that the foregoing is true and correct.
11
          RESPECTFULLY SUBMITTED this 23rd day of January, 2023 in
12
13   Spokane, Washington.
14
15
16                             By: /s/ Andrew M. Wagley
                                  Andrew M. Wagley
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        Declaration of Andrew M. Wagley—Page 2        ETTER, MCMAHON, LAMBERSON,
                                                      VAN WERT & ORESKOVICH, P.C.
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                                                        SPOKANE, WASHINGTON 99201 (509) 747-9100
     Case 2:21-cr-00049-WFN         ECF No. 179   filed 01/23/23      PageID.1971 Page 3 of 3




1
                                 CERTIFICATE OF SERVICE
2
3         I hereby certify that on January 23, 2023, I electronically filed the
4
5
     foregoing document with the Clerk of the Court using the CM/ECF System,
6
     which will send notification of such filing to all attorneys of record.
7
8
            EXECUTED in Spokane, Washington this 23rd day of January, 2023.
9
10
                               By: /s/ Jodi Dineen
11
                                  Jodi Dineen
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        Declaration of Andrew M. Wagley—Page 3        ETTER, MCMAHON, LAMBERSON,
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